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EXHIBI'I` A: CONSENT JUDGMENT

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

 

ASTRAZENECA PHARMACEUTICALS LP,
ASTRAZENECA UK LIMITED, and
ASTRAZENECA AB,

Plaintit`fs, t

v. : Civil Action No. }:18-cv-i 1238-RMB-KMW

APOTEX INC. AND APOTEX CORP.,

Defendants. .

X
CONSENT JUDGMENT

AstraZeneca AB, AstraZeneca UK Limited, and AstraZeneca Pharmaceuticais
LP (hereinafcer collectively “AstraZenecu”), and Apotex lnc. and Apotex Corp. (hereinai‘ter
collectively “Apotex”), the parties in the above-captioned action, have agreed to terms and
conditions representing a negotiated settlement of this action and have set forth those terms and
conditions in a Settlement Agreement (the “Settiement Agreement”)t Now the parties, by their
respective undersigned attorneys, hereby stipulate and consent to entry of judgment and an
injunction in this action as foilows:

rr rs wis Q:Hday of gljvs't ,2018;

ORDERED, ADIUDGED AND DECREED as follower

l. This District Court has jurisdiction over the subject matter of the above
action and has personal jurisdiction over the parties

2. As used in this Consent Judgment, (i) the term “Apotex Product” shall

mean a drug product sold, offered for sale or distributed pursuant to Abbreviated New Drug

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Application No. 211730 (and deiined in greater detail in the Settlement Agreement); and (ii) the
term “Affxliate” shall mean, with respect to a Party, any entity or person that, directly or
indirectly through one or more interinediaries, controls, is controlled by, or is under common
control with such Party. For purposes of this definition, “control” means (a) ownership, directly
or through one or more intermediaries, of (i) more than fifty percent (50%) of the shares of stock
entitled to vote for the election cf directors, in the case cfa corporation, or (ii) more than fifty
percent (50%) of the equity interests in the case of any other type of legal entity or status as a
general partner in any partnership, or (b) any other arrangement whereby an entity or person has
the right to elect a majority of the board of directors or equivalent governing body of a
corporation or other entity or the right to direct the management and policies of a corporation or
other entity.

3. Except as specifically authorized pursuant to the Settlement Agreement,
Apotex, including any of its Aftiliates, successors and assigns, is enjoined from inliinging
United States Patent Numbers 6,774,122, 7,456,160, 8,329,680 and 8,466,139, on its own part or
through any Afiiliate, by making, having inade, using, selling, offering to sell, importing or
distributing of the Apotex Product.

4. Cornpliance With this Consent Judgment may be enforced by AstraZeneca
and Apotex and their successors in interest, or assigns, as permitted by the terms of the
Settlement Agreement.

5. This Court retains jurisdiction to enforce or supervise performance under

this Consent ludgment and the Settlement Agreement.

 

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6. All claims, counterclaims, affirmative defenses and demands in this action

are hereby dismissed with prejudice and without costs, disbursements or attorneys’ fees to any

parcy.

Renee Marie Bumb, U.S.D.J.

 

We hereby consent to the form and entry of this Order:

s/ John E. Flaherty

 

John E. Flaherty

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